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 8
                             UNITED STATES DISTRICT COURT
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                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                No. LA CR17-00206-JAK

12             Plaintiff,                     ORDER CONTINUING TRIAL DATE AND
                                              FINDINGS REGARDING EXCLUDABLE TIME
13                   v.                       PERIODS PURSUANT TO SPEEDY TRIAL
                                              ACT
14   TREVON MAURICE FRANKLIN,
                                              TRIAL DATE:
15             Defendant.                     June 26, 2018 at 9:00 am
16                                            PRETRIAL CONFERENCE:
                                              June 14, 2018 at 8:30 am
17
                                              MOTION CUT-OFF DATE:
18                                            June 14, 2018 at 8:30 am
19

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          The Court has read and considered the Stipulation Regarding
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     Request for (1) Continuance of Trial Date and (2) Findings of
23
     Excludable Time Periods Pursuant to Speedy Trial Act, filed by the
24
     parties in this matter on January 22, 2018.         The Court hereby finds
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     that the Stipulation, which this Court incorporates by reference into
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     this Order, demonstrates facts that support a continuance of the
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 1   trial date in this matter, and provides good cause for a finding of

 2   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

 3        The Court further finds that: (i) the ends of justice served by

 4   the continuance outweigh the best interest of the public and

 5   defendant in a speedy trial; (ii) failure to grant the continuance

 6   would be likely to make a continuation of the proceeding impossible,

 7   or result in a miscarriage of justice; and (iii) failure to grant the

 8   continuance would unreasonably deny defendant continuity of counsel

 9   and would deny defense counsel the reasonable time necessary for

10   effective preparation, taking into account the exercise of due

11   diligence.

12        THEREFORE, FOR GOOD CAUSE SHOWN:

13        1.      The trial in this matter is continued from February 27,

14   2018 to June 26, 2018 at 9:00 a.m.        The pretrial conference/motions

15   hearing is continued to June 14, 2018 at 8:30 a.m.

16        2.      The time period of February 27, 2018 to June 26, 2018,

17   inclusive, is excluded in computing the time within which the trial

18   must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i),

19   and (h)(7)(B)(iv).

20        3.      Defendant shall appear in Courtroom 10B of the Federal

21   Courthouse, 350 W. First Street, Los Angeles, California on June 26,

22   2018 at 9:00 a.m.

23        4.      Nothing in this Order shall preclude a finding that other

24   provisions of the Speedy Trial Act dictate that additional time

25   periods are excluded from the period within which trial must

26   commence.    Moreover, the same provisions and/or other provisions of

27   the Speedy Trial Act may in the future authorize the exclusion of

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 1   additional time periods from the period within which trial must

 2   commence.

 3        IT IS SO ORDERED.

 4
     January 30, 2018
 5   DATE                                      HONORABLE JOHN A. KRONSTADT
                                               UNITED STATES DISTRICT JUDGE
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